    Case: 1:17-cv-02535 Document #: 131 Filed: 08/19/21 Page 1 of 3 PageID #:701




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

HOLLY BLAINE VANZANT, and                             )
DANA LAND, on behalf of themselves                    )
and all others similarly situated,                    )
                                                      )
       Plaintiffs,                                    )
                                                      )
       vs.                                            )       No. 1:17 cv 2535
                                                      )
                                                      )       Hon. Jorge L. Alonso
HILL’S PET NUTRITION INC., and                        )
PETSMART, INC.,                                       )
                                                      )
                                                      )
       Defendants.                                    )


      PLAINTIFF DANA LAND’S MOTION TO WITHDRAW AS A NAMED
    PLAINTIFF AND REPRESENTATIVE OF THE PUTATIVE CLASS AND TO
   VOLUNTARILY DISMISS HER INDIVIDUAL CLAIMS WITHOUT PREJUDICE

       Plaintiff Dana Land (“Plaintiff Land”), through undersigned counsel, pursuant to Fed. R.

Civ. P. 41(a)(2), moves to withdraw as a named plaintiff and representative of the putative class

in this action, and to voluntarily dismiss her individual claims without prejudice, such that she can

participate as an absent member of any class that may be subsequently certified by the Court. In

support thereof, Plaintiff Land states as follows:

     1.        Plaintiff Land, along with Plaintiff Holly Blaine Vanzant (collectively

“Plaintiffs”), filed this class action case on March 2, 2017 in the Circuit Court of Cook County,

Chancery Division, entitled Vanzant, et al v. Hill’s Pet Nutrition, Inc. et al., Case No. 2017 CH

03121, on behalf of themselves and all others similarly situated.

     2.        Shortly thereafter, Defendants Hill’s Pet Nutrition Inc. (“Hill’s”) and PetSmart,

Inc. (“PetSmart”) (collectively, “Defendants”) removed the case to the United States District

Court for the Northern District of Illinois.
    Case: 1:17-cv-02535 Document #: 131 Filed: 08/19/21 Page 2 of 3 PageID #:702




     3.        On Defendants’ motion, the Honorable Samuel Der-Yeghiayan dismissed

Plaintiffs’ First Amended Complaint on November 29, 2017. Plaintiffs appealed the district

court’s decision.

     4.        The United States Court of Appeals for the Seventh Circuit reversed the district

court’s dismissal of Plaintiffs’ First Amended Complaint and remanded the case to the district

court.

     5.        The mandate from the Seventh Circuit issued on October 11, 2019, and this case

was reassigned to Your Honor on January 7, 2020.

     6.        Plaintiff Land actively participated in discovery by responding to Hill’s and

PetSmart’s Interrogatories and Requests for Production, and by producing responsive documents.

     7.        Plaintiff Land was deposed on May 3, 2021.

     8.        Unfortunately, due to multiple health conditions, Plaintiff Land is unable to

continue participating in this action.

     9.        Accordingly, Plaintiff Land respectfully requests that this Court allow her to

withdraw as a named plaintiff and as a representative of the putative class in this action, and

dismiss her claims without prejudice, such that she can participate as an absent member of any

class that may be subsequently certified by the Court.1




1
  Along with this motion, Plaintiff Vanzant has filed a motion seeking leave to amend the
complaint and add another named plaintiff. “Substitution of unnamed class members for named
plaintiffs who fall out of the case because of settlement or other reasons is a common and normally
an unexceptionable (‘routine’) feature of class action litigation . . . in the federal courts. . . .”
Phillips v. Ford Motor Co., 435 F.3d 785, 787 (7th Cir. 2006) (citations omitted); In re Navistar
Maxxforce Engines Marketing, Sales Practices & Products Liability Litigation, No. 14-cv-10318,
2018 U.S. Dist. LEXIS 1873, at *27-28 (N.D. Ill. Jan. 4, 2018).
                                                 2
    Case: 1:17-cv-02535 Document #: 131 Filed: 08/19/21 Page 3 of 3 PageID #:703




     10.       Motions to withdraw as a class representative are construed as motions to

voluntarily dismiss without prejudice under Rule 41(a)(2). Will v. General Dynamics Corp., No.

06-698-GPM, 2007 U.S. Dist. LEXIS 79298, at *7 (S.D. Ill. Oct. 15, 2007).

     11.       Rule 41(a)(2) allows an action to be dismissed voluntarily “only by court order,

on terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2). “Unless otherwise specified

in the order, a dismissal under this paragraph is without prejudice.” Id.

       WHEREFORE, Plaintiff Land requests an order granting her Motion to Withdraw as a

Named Plaintiff and Representative of the Putative Class and to Voluntarily Dismiss her

Individual Claims Without Prejudice.

Dated: August 19, 2021                        Respectfully submitted,


                                              By: /s/ Ellen M. Carey________
                                                  One of Plaintiffs’ Attorneys
Brian P. O’Meara
Ellen M. Carey
Kevin R. Malloy
Forde & O’Meara LLP
111 West Washington Street
Suite 1100
Chicago, IL 60602
(312) 641-1441
                                 CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that the foregoing Plaintiff Dana Land’s Motion

to Withdraw as a Named Plaintiff and Representative of the Putative Class and to

Voluntarily Dismiss her Individual Claims Without Prejudice was filed electronically with the

Clerk of the Court using the CM/ECF system this 19th day of August, 2021, and served

electronically on all counsel of record.



                                                             s/ Ellen M. Carey

                                                 3
